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                  IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION

UNITED STATES OF AMERICA              )                            -

V.
                                             CASE NO. 0R499-133
ERIC BERNARD HICKS, et al.,

        Defendants.


                                ORDER

        Before the Court is Defendant Joe Perry Garrett's

Motion for Retroactive Application of Sentencing Guidelines

to Crack Cocaine Offense under 18 U.S.C.                 3582.         (Doc.

739.)         For the following reasons, the Court DENIES

Defendant' s Motion.'

        On June 30, 2008, the Georgia Supreme Court overturned

two state convictions used by this Court to determine

Defendant's criminal history category.                See Garrett V.

State, 284 Ga.. 31, 663 S.E.2d 153 (2008). Defendant's

Motion asks this Court to reduce his sentence based upon

the Georgia Supreme Court's decision to overturn these two

state convictions.              Removing the overturned state

convictions and recalculating Defendant's guideline

sentence could result in a lower guideline sentence.

However, a motion under 18 U.S.C. § 3582 is not the proper

' After careful consideration, Defendant's Motion to Appoint
Counsel (Doc. 740) is DENIED.
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method for seeking a reduced sentence based on overturned

state convictions.

     The appropriate means for Defendant to seek a

reduction of sentence based upon overturned state

convictions is to file a challenge to his sentence under 28

U.S.C. § 2255. Defendant previously filed a § 2255

petition for relief from his conviction and sentence in

this matter.     (See Doc. 706) (judgment entered on § 2263

petition.) This Court may only entertain a second or

successive habeas corpus petition from Defendant after he

receives certification from the Eleventh Circuit Court of

Appeals. Under Eleventh Circuit Rule 22-3(a), Defendant

must file an "Application for Leave to File a Second or

Successive Habeas Corpus Petition" with the Eleventh

Circuit, using the form provided by the Eleventh Circuit

Clerk of Court, before filing a second or successive

petition in this Court. As a result, this Court is

precluded from ruling on any § 2255 Petition from Defendant

until he receives the required certification from the

Eleventh Circuit.

     In summary, if Defendant wishes this Court to

recalculate his sentence due to his overturned state

convictions, he must first file an "Application for Leave

to File a Second or Successive Habeas Corpus Petition" with


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the Eleventh Circuit. After receiving permission from the

Eleventh Circuit, Defendant may then submit a § 2255

petition to this Court.         Until Defendant follows these

procedures, this Court lacks jurisdiction to rule on any §

2255 petition from Defendant.

     Accordingly, the Court DENIES Defendant's Motion for

Retroactive Application of Sentencing Guidelines to Crack

Cocaine Offense under 18 U.S.C. § 3582.

     SO ORDERED this          day of October, 2008.




                                    ORE R . 1 CHIEcUD GE
                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA




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